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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                 Plaintiff,               )                  4:10CR3052
                                          )
          v.                              )
                                          )
THAM THANH CAO, MY TAN CAO,               )                    ORDER
DA VAN CAO,                               )
                                          )
                 Defendants.              )


    IT IS ORDERED:

    1)    The government’s motion to withdraw Barbara J. Armstead as counsel for the
          government, (filing no. 60), is granted.

    2)    The clerk shall delete Ms. Armstead from any future ECF notifications herein.


    DATED this 14th day of June, 2011.

                                         BY THE COURT:

                                         s/ Cheryl R. Zwart
                                         United States Magistrate Judge
